                                 THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                         ASHEVILLE DIVISION
                                CRIMINAL CASE NO. 1:06-cr-00031-MR-DLH

              UNITED STATES OF AMERICA         )
                                               )
                   vs.                         )                    ORDER
                                               )
              DANNY LEE HALL                   )
              ________________________________ )

                       THIS MATTER is before the Court pursuant to 18 United States Code

              § 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

                       The Defendant has filed a pro se motion for a reduction of his

              sentence. [Doc. 319]. The Probation Office has submitted a supplement to

              the Defendant’s Presentence Report (“PSR”) in this matter. [Doc. 320].

              Based thereon, the Court determines that the United States Attorney and

              the Federal Defenders of WNC, Inc., should provide the Court with their

              respective positions regarding the PSR supplement.

                       IT IS, THEREFORE, ORDERED that no later than thirty (30) days

              from the entry of this Order, the United States Attorney and the Federal

              Defenders of WNC, Inc., shall file pleadings responsive to the Probation

              Officer’s PSR supplement filed in this matter.

                       IT IS SO ORDERED.
Signed: February 23, 2015




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